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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON




DONALD L. OLSON,
                                      Plaintiff,

                     v.                                           Civil No. 1:15-cv-1692-CL

CHICAGO TITLE INSURANCE
COMPANY, et al,

                                      Defendants.


                                        JUDGMENT
      Based upon the record, this action is remanded to the Circuit Court of the State of Oregon

for the County of Josephine, Josephine County Case No 15-CV-20794.

      Dated: July   ')I   ,   2016.




                              MICHAELJ. McSHANE
                          UNITED STATES DISTRICT JUDGE




JUDGMENT                                              DOCUMENT NO:~~~-
